    Case 4:23-cv-01699       Document 99      Filed on 09/30/24 in TXSD      Page 1 of 19
                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                  September 30, 2024
                           UNITED STATES DISTRICT COURT
                                                                                   Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JENNIFER BRIDGES, et al.,                      §
                                               §
          Plaintiffs,                          §
VS.                                            § CIVIL ACTION NO. 4:23-CV-1699
                                               §
THE METHODIST HOSPITAL, et al.,                §
                                               §
          Defendants.                          §
                                               §

                        MEMORANDUM OPINION AND ORDER

         This is a civil rights case brought under 42 U.S.C. § 1983 (“Section 1983”) by over

100 healthcare professionals who were let go for refusing to inoculate themselves against

COVID-19 in violation of their employers’ mandatory immunization policies. Plaintiffs

have sued their former employers (“the Methodist Hospital defendants” or “Methodist”)

and two Texas state officials (“the Government defendants”). (Dkt. 86 at pp. 25–26). Both

sets of defendants have filed motions to dismiss. The defendants’ motions (Dkt. 57; Dkt.

87) are GRANTED IN PART AND DENIED AS MOOT IN PART.1

         For the reasons outlined in this opinion, all of Plaintiffs’ claims under federal law

(Counts I–IV and Count VIII of their live complaint) are DISMISSED WITH

PREJUDICE under Federal Rule of Civil Procedure 12(b)(6). The Court declines to

exercise supplemental jurisdiction over Plaintiffs’ claims under Texas state law (Counts

V–VII of their live complaint), and those claims are REMANDED to the 284th Judicial


1
 Defendants’ motions to submit supplemental authority (Dkt. 90; Dkt. 91; Dkt. 96; Dkt. 98) are
GRANTED. The Court has considered the submitted cases.

1 / 19
   Case 4:23-cv-01699      Document 99       Filed on 09/30/24 in TXSD      Page 2 of 19




District Court of Montgomery County, Texas, where this case was originally filed and

assigned case number 23-04-05209.

                  FACTUAL AND PROCEDURAL BACKGROUND

         In April of 2021, during the global COVID-19 pandemic, Methodist implemented a

mandatory COVID-19 immunization policy for all of its employees and vendors. (Dkt. 86

at pp. 103–04). Plaintiffs refused to comply with the immunization policy and were let go

or had their vendor privileges terminated. (Dkt. 86 at pp. 10–25, 92–93, 116–17).

         Plaintiffs have now sued Methodist and the Government defendants under Section

1983 and various state-law causes of action. They ground their Section 1983 claims in their

contention that “an individual has the federally secured right to refuse the administration

of an Emergency Use Authorization (EUA) drug (e.g., Pfizer BioNTech COVID-19

Vaccine), biologic, or device without incurring a penalty or losing a benefit to which they

are otherwise entitled.” (Dkt. 86 at p. 27). By “Emergency Use Authorization drug” or

“EUA drug,” Plaintiffs mean a drug that has been introduced into interstate commerce

under the authority of the “emergency use” provisions of 21 U.S.C. § 360bbb-3. 21 U.S.C.

§ 360bbb-3 allows the Secretary of Health and Human Services to authorize “an emergency

use of a product” that is “intended for use in an actual or potential emergency” but “is not

approved, licensed, or cleared for commercial distribution . . . .” See 21 U.S.C. § 360bbb-

3(a). The emergency-use provisions may be, and in the case of the COVID pandemic were,

invoked on the basis of a determination by the Secretary of Health and Human Services

that there is a public health emergency involving a disease that may be attributable to a

biological agent. See 21 U.S.C. § 360bbb-3(b). (Dkt. 86 at p. 7). Plaintiffs argue that there


2 / 19
   Case 4:23-cv-01699        Document 99      Filed on 09/30/24 in TXSD       Page 3 of 19




is a Constitutionally relevant distinction between mandatory use of a “licensed vaccine”

and mandatory use of an “EUA drug” like the COVID-19 vaccine. (Dkt. 86 at p. 27)

(emphasis in Plaintiffs’ complaint).

         Plaintiffs originally filed this lawsuit in Texas state court, and Methodist removed

it to this Court under the federal-question jurisdiction statute, 28 U.S.C. § 1331. (Dkt. 1).

Plaintiffs have amended their pleading three times in this Court. (Dkt. 12; Dkt. 72; Dkt.

86).

                                       RULE 12(b)(6)

         Rule 8 of the Federal Rules of Civil Procedure requires a pleading to contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.” Fed.

R. Civ. P. 8(a)(2). A motion filed under Federal Rule of Civil Procedure 12(b)(6) tests a

pleading’s compliance with this requirement and is “appropriate when a defendant attacks

the complaint because it fails to state a legally cognizable claim.” Ramming v. United

States, 281 F.3d 158, 161 (5th Cir. 2001). A complaint can be dismissed under Rule

12(b)(6) if its well-pleaded factual allegations, when taken as true and viewed in the light

most favorable to the plaintiff, do not state a claim that is plausible on its face. Amacker v.

Renaissance Asset Mgmt., LLC, 657 F.3d 252, 254 (5th Cir. 2011); Lone Star Fund V

(U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). As the Fifth Circuit

has further clarified:

               A claim has facial plausibility when the plaintiff pleads factual content that
               allows the court to draw the reasonable inference that the defendant is liable
               for the misconduct alleged. This includes the basic requirement that the
               facts plausibly establish each required element for each legal claim.



3 / 19
    Case 4:23-cv-01699        Document 99        Filed on 09/30/24 in TXSD         Page 4 of 19




               However, a complaint is insufficient if it offers only labels and conclusions,
               or a formulaic recitation of the elements of a cause of action.
               Coleman v. Sweetin, 745 F.3d 756, 763–64 (5th Cir. 2014) (quotation marks
               and citations omitted).

         Furthermore, “a complaint may be dismissed if it clearly lacks merit—for example,

where there is an absence of law to support a claim of the sort made.” Thurman v. Medical

Transportation Management, Inc., 982 F.3d 953, 956 (5th Cir. 2020) (quotation marks

omitted).

         When considering a motion to dismiss under Rule 12(b)(6), the Court’s review is

limited to the complaint; any documents attached to the complaint; any documents attached

to the motion to dismiss that are central to the claim and referenced by the complaint; and

matters subject to judicial notice under Federal Rule of Evidence 201. Allen v. Vertafore,

Inc., 28 F.4th 613, 616 (5th Cir. 2022); George v. SI Group, Inc., 36 F.4th 611, 619 (5th

Cir. 2022).

                                               ANALYSIS

         Since the COVID pandemic began, at least two lawsuits materially identical to this

one have been filed in this District and dismissed on the pleadings. See Bridges v. Houston

Methodist Hospital, 543 F. Supp. 3d 525 (S.D. Tex. 2021), aff’d, No. 21-20311, 2022 WL

2116213 (5th Cir. June 13, 2022); Pearson v. Shriners Hospitals for Children, No. 3:23-

CV-387, 2024 WL 3022397 (S.D. Tex. June 7, 2024).2 The Court similarly concludes that




2
 The cases from other circuits cited in this opinion also dealt with claims that were similar, and in
most instances identical, to the ones brought by Plaintiffs.

4 / 19
    Case 4:23-cv-01699         Document 99        Filed on 09/30/24 in TXSD         Page 5 of 19




Plaintiffs, despite amending their pleading multiple times, have failed to state a legally

cognizable federal claim.

                —Section 1983

         Plaintiffs bring all but one3 of their federal claims under Section 1983. (Dkt. 86 at

pp. 117–21). Section 1983 does not create any substantive rights and instead was designed

to provide a remedy for violations of federal statutory and Constitutional rights.

Southwestern Bell Telephone, LP v. City of Houston, 529 F.3d 257, 260 (5th Cir. 2008).

“To state a valid claim under § 1983, a plaintiff must (1) allege a violation of rights secured

by the Constitution or laws of the United States and (2) demonstrate that the alleged

deprivation was committed by a person acting under color of state law.”4 Resident Council

of Allen Parkway Village v. United States Department of Housing & Urban Development,

980 F.2d 1043, 1050 (5th Cir. 1993).

         If the source of the alleged right is a federal statute, then “[i]t is essential to a private

enforcement action under § 1983 . . . that the federal statute in question unambiguously

give rise to privately enforceable, substantive rights.” Johnson v. Housing Authority of

Jefferson Parish, 442 F.3d 356, 359 (5th Cir. 2006) (emphasis in Johnson); see also



3
  The one exception is a claim under 21 U.S.C. § 360bbb-3. As further discussed below, “courts
have consistently held that [21 U.S.C. § 360bbb-3] provides no private right of action.” Kiss v.
Best Buy Stores, No. 3:22-CV-281, 2022 WL 17480936, at *8 (D. Or. Dec. 6, 2022) (collecting
cases). Plaintiffs’ claim under 21 U.S.C. § 360bbb-3 is dismissed for the same reasons as their
Section 1983 claim premised on 21 U.S.C. § 360bbb-3.
4
  As the balance of this opinion explains, Plaintiffs’ federal claims fail at step one, even assuming
that this case involves state action. However, to be perfectly clear: The Court also concludes that
Plaintiffs’ federal claims fail because Plaintiffs “have failed to allege any . . . manner in which the
termination of their employment may have constituted state action[.]” Pearson v. Shriners
Hospitals for Children, No. 3:23-CV-387, 2024 WL 3022397, at *4 (S.D. Tex. June 7, 2024).

5 / 19
   Case 4:23-cv-01699         Document 99      Filed on 09/30/24 in TXSD      Page 6 of 19




Thurman, 982 F.3d at 956 (“[F]ederal law must provide an unambiguously conferred right

with an unmistakable focus on the benefitted class.”) (quotation marks omitted). “The

inquiry in this context is virtually the same as that involved in private rights of action

implied directly from a federal statute rather than by way of § 1983.” Johnson, 442 F.3d at

359. “It is presumed Congress did not intend to create a private enforceable right; the

burden is on the plaintiff to show otherwise.” Southwestern Bell, 529 F.3d at 260; see also

Acara v. Banks, 470 F.3d 569, 571 (5th Cir. 2006) (“[T]he plaintiff has the relatively heavy

burden to show Congress intended private enforcement, and must overcome the

presumption that Congress did not intend to create a private cause of action.”).

          “[I]n the end, very few statutes are held to confer rights enforceable under § 1983.”

Johnson, 442 F.3d at 360. Moreover, a Section 1983 claim may not be brought to enforce

an administrative regulation, as “federal rights are created by Congress, not agencies of the

Executive Branch[.]” Thurman, 982 F.3d at 955; see also Alexander v. Sandoval, 532 U.S.

275, 291 (2001) (“Language in a regulation may invoke a private right of action that

Congress through statutory text created, but it may not create a right that Congress has

not.”).

          Plaintiffs assert that the rights they seek to vindicate through Section 1983 stem

from the following sources:




6 / 19
   Case 4:23-cv-01699        Document 99      Filed on 09/30/24 in TXSD      Page 7 of 19




         Dkt. 86 at pp. 117–21.

         Plaintiffs also invoke 10 U.S.C. § 980; the Public Readiness and Emergency

Preparedness Act, 42 U.S.C. §§ 247d-6d, 247d-6e (“the PREP Act”); and the Spending

Clause. (Dkt. 86 at pp. 76, 121–22).

         The Court concludes that Plaintiffs have failed to adequately plead a right secured

by the Constitution or laws of the United States that they may enforce through Section

1983. To begin with, several of the sources of rights cited by Plaintiffs—namely, 45 C.F.R.

§ 46; the Belmont Report; Article VII of the ICCPR Treaty; the Federal Wide Assurance

agreement; and the EUA Scope of Authorization letter—are neither statutes nor

Constitutional provisions. Under Thurman and Alexander, those materials do not give rise

to rights enforceable under Section 1983. The Court will address Plaintiffs’ other purported

sources of privately enforceable rights in turn.

                i.     21 U.S.C. § 360bbb-3

         Plaintiffs first claim that they may use Section 1983 to enforce the informed-consent

provisions of 21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(II). (Dkt. 86 at p. 118). The Court

disagrees.



7 / 19
   Case 4:23-cv-01699       Document 99       Filed on 09/30/24 in TXSD       Page 8 of 19




         “[C]ourts have consistently held that [21 U.S.C. § 360bbb-3] provides no private

right of action.” Kiss v. Best Buy Stores, No. 3:22-CV-281, 2022 WL 17480936, at *8 (D.

Or. Dec. 6, 2022) (collecting cases); see also Bridges, 543 F. Supp. 3d at 527. Indeed, the

Federal Food, Drug, and Cosmetic Act (“FDCA”), of which 21 U.S.C. § 360bbb-3 is a part,

“says that its requirements may only be enforced by the United States government.”

Markland v. Insys Therapeutics, Inc., 758 Fed. App’x 777, 779 (11th Cir. 2018) (citing 21

U.S.C. § 337(a)); see also Merrell Dow Pharmaceuticals v. Thompson, 478 U.S. 804, 817

(1986) (holding that private actors have no federal cause of action for a violation of the

FDCA); Scott v. Pfizer Inc., 182 Fed. App’x 312, 315 (5th Cir. 2006) (“Nor has [the

plaintiff] shown that . . . the Food, Drug, and Cosmetic Act . . . create[s] a private right of

action.”). Plaintiffs have failed to rebut the presumption that Congress did not intend to

create a privately enforceable right when it enacted the informed-consent provisions of 21

U.S.C. § 360bbb-3(e)(1)(A)(ii)(II).

         Even if the informed-consent provisions of 21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(II)

create a privately enforceable right, Plaintiffs’ allegations fall outside of its scope. The

informed-consent provisions “address[] the interaction between the medical provider and

the person receiving the vaccine, not the interaction between an employer and an employee

receiving a vaccine.” Norris v. Stanley, 73 F.4th 431, 438 (6th Cir. 2023). “[A]s other courts

have held, those conditions of informed consent only relate to those who ‘carr[y] out any

activity for which the authorization is issued,’ which are the medical providers who

administer the vaccine, not those who issue vaccine mandates.” Johnson v. Brown, 567 F.

Supp. 3d 1230, 1256 (D. Or. 2021); see also Valdez v. Grisham, 559 F. Supp. 3d 1161,


8 / 19
   Case 4:23-cv-01699       Document 99      Filed on 09/30/24 in TXSD      Page 9 of 19




1171–72 (D.N.M. 2021), aff’d, No. 21-2105, 2022 WL 2129071 (10th Cir. June 14, 2022)

(“[The informed-consent] provisions nowhere prevent the state, or any other entity, from

requiring certain individuals to be vaccinated against COVID-19. . . . This informed

consent requirement only applies to medical providers [who are] directly administering the

vaccine[.]”); Norris, 73 F.4th at 438 (“The statute is meant to ensure patients’ consent to

the pharmaceutical they are receiving, but this does not mean that [Michigan State

University] cannot require vaccination as a term of employment.”); Pearson, 2024 WL

3022397 at *3 (“Shriners correctly asserts that the plaintiffs’ ‘right to refuse’ the vaccine

never came into being because none of the Shriners parties ever actually administered the

COVID-19 vaccination to any of the plaintiffs.”) (brackets and some quotation marks

omitted). Plaintiffs do not allege that any defendant directly administered the vaccine to

them, so their claims against Defendants fall outside of the reach of the informed-consent

provisions of 21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(II)—even assuming, again, that Plaintiffs

could root a Section 1983 action in the informed-consent provisions in the first place.

               ii.    The PREP Act

         Plaintiffs also invoke the PREP Act. The Court concludes that the PREP Act cannot

form the basis for Plaintiffs’ Section 1983 claims.

         The PREP Act “shields covered persons, such as pharmacies and drug

manufacturers, from suits and liability during a public-health emergency.” Manyweather

v. Woodlawn Manor, Inc., 40 F.4th 237, 243 (5th Cir. 2022) (quotation marks omitted). If

the liability shield applies, “the sole remedy is compensation from a fund administered by

the Secretary” of Health and Human Services. Id. (quotation marks omitted). The


9 / 19
  Case 4:23-cv-01699        Document 99     Filed on 09/30/24 in TXSD      Page 10 of 19




compensation is exclusively determined by an administrative process. Mitchell v.

Advanced HCS, L.L.C., 28 F.4th 580, 586 (5th Cir. 2022). The single exception to the PREP

Act’s liability shield is both substantively and procedurally narrow: “A claimant may sue

a covered person for death or serious physical injury proximately caused by that person’s

willful misconduct[,]” but that claim “may proceed only in the federal district court for the

District of Columbia.” Manyweather, 40 F.4th at 243. Moreover, claimants who fall under

the willful-misconduct exception typically still must exhaust certain administrative

remedies before going to court. Mitchell, 28 F.4th at 586.

          The Court concludes that the PREP Act is not one of the “very few statutes” that

“confer rights enforceable under § 1983.” See Johnson, 442 F.3d at 360. “Indeed, courts

uniformly recognize that, with one exception, the PREP Act does not create an enforceable

right, but creates immunity against a potential action arising from an injury during the

administration of a vaccine.” Sweeney v. University of Colorado Hospital Authority, No.

23-CV-2451, 2024 WL 3713835, at *8 (D. Colo. July 12, 2024) (emphasis in Sweeney);

see also Maney v. Brown, 91 F.4th 1296, 1303 (9th Cir. 2024) (“Congress intended to

expressly immunize covered persons from § 1983 actions for claims covered by the

[PREP] Act, even if those claims are federal constitutional claims.”). The PREP Act not

only sets out a carefully constructed and exclusive remedial scheme but explicitly states

the limited circumstances under which lawsuits may proceed against covered persons, right

down to specifying the one venue (which is not this Court) in which those lawsuits must

be filed. If anything, such a comprehensive and exclusive scheme evinces a Congressional

intent to preclude Section 1983 claims based on the PREP Act, not facilitate them. See


10 / 19
  Case 4:23-cv-01699         Document 99       Filed on 09/30/24 in TXSD      Page 11 of 19




Fitzgerald v. Barnstable School Committee, 555 U.S. 246, 252 (2009) (“If Congress

intended a statute’s remedial scheme to be the exclusive avenue through which a plaintiff

may assert the claims, the § 1983 claims are precluded.”) (brackets, quotation marks, and

citation omitted). Accordingly, the PREP Act cannot form the basis for Plaintiffs’ Section

1983 claims.

                 iii.   10 U.S.C. § 980

          Plaintiffs also invoke 10 U.S.C. § 980. The Court concludes that 10 U.S.C. § 980

provides no basis for relief on the facts alleged by Plaintiffs.

          10 U.S.C. § 980 provides that:

          [f]unds appropriated to the Department of Defense may not be used for research
          involving a human being as an experimental subject unless . . . (1) the informed
          consent of the subject is obtained in advance; or (2) in the case of research intended
          to be beneficial to the subject, the informed consent of the subject or a legal
          representative of the subject is obtained in advance.
          10 U.S.C. § 980.

          “10 U.S.C. § 980 does not contain clear and unambiguous ‘rights-creating’ or

‘individual-centric’ language demonstrating Congressional intent to create an enforceable

right under § 1983.” Sweeney, 2024 WL 3713835 at *9. Accordingly, 10 U.S.C. § 980, like

the PREP Act and the informed-consent provisions of 21 U.S.C. § 360bbb-

3(e)(1)(A)(ii)(II), cannot form the basis of a Section 1983 claim. Even if it could, Plaintiffs

do not allege that Defendants used funds appropriated to the Department of Defense to

experiment on them without their informed consent, so their claims based on 10 U.S.C. §

980 would still fail. Boysen v. PeaceHealth, No. 6:23-CV-1229, 2024 WL 3888682, at *7

(D. Or. Aug. 19, 2024) (“Plaintiffs have failed to allege sufficient facts from which they



11 / 19
  Case 4:23-cv-01699         Document 99      Filed on 09/30/24 in TXSD     Page 12 of 19




could obtain relief from state Defendants based on this statute. There is no allegation that

state Defendants expended Department of Defense funds or were obligated to inform

Plaintiffs of information, but failed provide such information.”).

                iv.    The Spending Clause

          Plaintiffs also invoke the Constitution’s Spending Clause. The Court concludes that

Plaintiffs have failed to state a cognizable claim under this provision.

          The Spending Clause “empowers Congress to ‘lay and collect Taxes, Duties,

Imposts, and Excises, to pay the Debts and provide for the common Defence and general

Welfare of the United States.’” South Dakota v. Dole, 483 U.S. 203, 206 (1987). “Incident

to this power, Congress may attach conditions on the receipt of federal funds, and has

repeatedly employed the power to further broad policy objectives by conditioning receipt

of federal moneys upon compliance by the recipient with federal statutory and

administrative directives.” Id. (quotation marks omitted). “In legislation enacted pursuant

to the spending power, the typical remedy for state noncompliance with federally imposed

conditions is not a private cause of action for noncompliance but rather action by the

Federal Government to terminate funds to the State.” Gonzaga University v. Doe, 536 U.S.

273, 280 (2002). The Supreme Court has “made clear that unless Congress speaks with a

clear voice, and manifests an unambiguous intent to confer individual rights, federal

funding provisions provide no basis for private enforcement by § 1983.” Id. (quotation

marks and brackets omitted). An instance in which Spending Clause legislation creates “§

1983-enforceable rights,” in short, is an “atypical case[.]” Health and Hospital

Corporation of Marion County v. Talevski, 599 U.S. 166, 183 (2023).


12 / 19
  Case 4:23-cv-01699         Document 99      Filed on 09/30/24 in TXSD      Page 13 of 19




          In support of their Spending Clause claim, Plaintiffs cite to 21 U.S.C. § 360bbb-3;

45 C.F.R. § 46.122; and 10 U.S.C. § 980. As the Court previously discussed, 21 U.S.C. §

360bbb-3 and 10 U.S.C. § 980 do not manifest an unambiguous Congressional intent to

confer individual rights; and 45 C.F.R. § 46.122, whatever it may say about individual

rights, is an administrative regulation, not a statute enacted pursuant to Congress’s

spending power. See Alexander, 532 U.S. at 291 (“Language in a regulation may invoke a

private right of action that Congress through statutory text created, but it may not create a

right that Congress has not.”). Accordingly, Plaintiffs have not pointed to a valid source of

a claim under Section 1983 based on the Spending Clause. Sweeney, 2024 WL 3713835 at

*16–17 (dismissing claims under the Spending Clause based on 21 U.S.C. § 360bbb-3; 45

C.F.R. § 46.122; and 10 U.S.C. § 980).

                v.     Procedural due process

          Plaintiffs also contend that their rights under the procedural due process component

of the Fourteenth Amendment’s Due Process Clause were violated. (Dkt. 86 at p. 93). The

Court concludes that Plaintiffs have failed to state a cognizable claim under this theory.

          Procedural due process imposes constraints on governmental decisions which

deprive individuals of liberty or property interests within the meaning of the Due Process

Clause of the Fourteenth Amendment. Mathews v. Eldridge, 424 U.S. 319, 332 (1976).

“By requiring the government to follow appropriate procedures when its agents decide to

deprive any person of life, liberty, or property, the Due Process Clause promotes fairness

in such decisions.” Daniels v. Williams, 474 U.S. 327, 331 (1986) (quotation marks

omitted). However, “[t]he procedural component of the Due Process Clause does not


13 / 19
  Case 4:23-cv-01699         Document 99      Filed on 09/30/24 in TXSD      Page 14 of 19




protect everything that might be described as a ‘benefit’: To have a property interest in a

benefit, a person clearly must have more than an abstract need or desire and more than a

unilateral expectation of it. He must, instead, have a legitimate claim of entitlement to it.”

Town of Castle Rock, Colorado v. Gonzales, 545 U.S. 748, 756 (2005) (some quotation

marks omitted). “Such entitlements are, of course, not created by the Constitution. Rather,

they are created and their dimensions are defined by existing rules or understandings that

stem from an independent source such as state law.” Id. (ellipsis and quotation marks

omitted).

          Plaintiffs assert that they have a protected entitlement in their “living wages and

careers[.]” (Dkt. 86 at p. 93). State law controls the analysis of whether Plaintiffs have a

property interest in their employment sufficient to entitle them to due process protection.

McDonald v. City of Corinth, Texas, 102 F.3d 152, 155 (5th Cir. 1996); see also Muncy v.

City of Dallas, Texas, 335 F.3d 394, 398 (5th Cir. 2003) (“[A] property interest is not

incidental to public employment, instead it must be created by an independent source, such

as state law.”). “It is well-settled that Texas is an at-will employment state and that, absent

an express agreement to the contrary, employment may be terminated at any time by either

party with or without cause.” Id. at 156. An at-will employee is not entitled to procedural

due process in connection with his termination. Id. at 155; see also Muncy, 335 F.3d at

397–98 & n.1. To state a due process claim, then, “an employee must show that the at-will

presumption has been altered.” Zeng v. Texas Tech University Health Science Center at El

Paso, 836 Fed. App’x 203, 211 (5th Cir. 2020). There are two ways in which the at-will

relationship may be altered: (1) by contract; and (2) by rules or policies that “specifically


14 / 19
  Case 4:23-cv-01699         Document 99       Filed on 09/30/24 in TXSD     Page 15 of 19




and expressly curtail[] the employer’s right to terminate the employee.” Muncy, 335 F.3d

at 398; McDonald, 102 F.3d at 156.

          Plaintiffs’ complaint does not allege any facts rebutting the presumption that their

employment was at-will or showing that their at-will relationship with Methodist was

altered. Accordingly, they were not entitled to procedural due process in connection with

their terminations.

                 vi.    Substantive due process

          Plaintiffs next contend that their rights under the substantive due process component

of the Fourteenth Amendment’s Due Process Clause were violated. (Dkt. 86 at p. 76).

Substantive due process, unlike procedural due process, “bar[s] certain government actions

regardless of the fairness of the procedures used to implement them[.]” Daniels v. Williams,

474 U.S. 327, 331 (1986). Plaintiffs’ allegations fail to state a substantive-due-process

claim.

          When a plaintiff proceeding under the substantive due process component of the

Due Process Clause challenges legislative or quasi-legislative action that applies broadly

and does not implicate a fundamental right, the plaintiff must show that the governmental

action is not “rationally related to a legitimate government interest.” Reyes v. North Texas

Tollway Authority, (NTTA), 861 F.3d 558, 561–63 (5th Cir. 2017). “The interest the

government asserts to show rationality need not be the actual or proven interest, as long as

there is a connection between the policy and a conceivable interest.” Id. at 563 (quotation

marks omitted). If the relationship between the challenged governmental action and a

legitimate government interest “is at least debatable, there is no substantive due process


15 / 19
  Case 4:23-cv-01699         Document 99       Filed on 09/30/24 in TXSD        Page 16 of 19




violation.” Id. (quotation marks omitted). Rational basis review is “notoriously deferential”

to the government. Id. at 561–62.

          Plaintiffs do not have a fundamental right to refuse vaccination. Jacobson v.

Massachusetts, 197 U.S. 11 (1905); see also Bridges, 543 F. Supp. 3d at 527 & n.3;

Williams v. Brown, 567 F. Supp. 3d 1213, 1226 (D. Or. 2021) (collecting cases) (“In the

context of COVID-19, courts across the country have concluded that Jacobson established

that there is no fundamental right to refuse vaccination.”). Accordingly, Plaintiffs have to

satisfy the rational-basis standard.5 Their allegations fail to do so.

          “Applied to the present case, the Court has no trouble concluding that the vaccine

mandates are rationally related to a legitimate state interest.” Brown, 567 F. Supp. 3d at

1227. As Judge Hughes stated in dismissing a similar case against Methodist, Methodist

implemented a mandatory COVID-19 immunization policy in an effort “to do their

business of saving lives” without spreading the COVID-19 virus and “to keep staff,

patients, and their families safer.” Bridges, 543 F. Supp. 3d at 528. Those are legitimate

interests, and the immunization policy is rationally related to them. Plaintiffs have not

stated a cognizable substantive-due-process claim.


          5
          When a plaintiff challenges individualized executive action as opposed to legislative or
quasi-legislative action, the plaintiff can only establish a substantive due process violation by
showing that “the executive action . . . can properly be characterized as arbitrary, or conscience
shocking, in a constitutional sense.” County of Sacramento v. Lewis, 523 U.S. 833, 846–47 (1998)
(quotation marks omitted); see, e.g., Cripps v. Louisiana Department of Agriculture and Forestry,
819 F.3d 221, 232–33 (5th Cir. 2016) (applying the shocks-the-conscience standard to a state
commission’s decision to deny a professional license to the plaintiff). “[O]nly the most egregious
official conduct can be said to be arbitrary in the constitutional sense[.]” Lewis, 523 U.S. at 846
(quotation marks omitted). If the shocks-the-conscience standard were applicable here, Plaintiffs’
allegations would fail to meet that standard as well.


16 / 19
  Case 4:23-cv-01699         Document 99      Filed on 09/30/24 in TXSD      Page 17 of 19




                vii.   Equal Protection

          Finally, Plaintiffs contend that their rights under the Fourteenth Amendment’s Equal

Protection Clause were violated. (Dkt. 86 at p. 76). Their allegations fail to establish such

a violation.

          The rational-basis standard discussed above applies to Plaintiffs’ equal-protection

claim. “The Equal Protection Clause of the Fourteenth Amendment commands that no

State shall ‘deny to any person within its jurisdiction the equal protection of the laws,’

which is essentially a direction that all persons similarly situated should be treated alike.”

City of Cleburne, Texas v. Cleburne Living Center, 473 U.S. 432, 439 (1985). “The general

rule is that legislation is presumed to be valid and will be sustained if the classification

drawn by the statute is rationally related to a legitimate state interest.” Id. at 440.

Heightened standards of review apply when suspect classifications like race, gender, or

national origin are implicated or when legislation impinges on fundamental Constitutional

rights. Id.

          “As with substantive due process, courts have routinely rejected the argument that

vaccine mandates will trigger heightened scrutiny under the Equal Protection Clause and

have instead applied rational basis review.” Brown, 567 F. Supp. 3d at 1227. Applying the

rational-basis standard to the immunization policy that Plaintiffs challenge, the Court again

“has no trouble discerning a legitimate state interest in slowing the spread of COVID-19

and the Court concludes that the vaccine mandates are rationally related to furthering that

interest.” Id. at 1228. Accordingly, Plaintiffs’ allegations are insufficient to establish a

viable equal-protection claim.


17 / 19
  Case 4:23-cv-01699         Document 99       Filed on 09/30/24 in TXSD       Page 18 of 19




          —Claims under Texas state law

          Having dismissed all federal causes of action in this case, the Court will decline to

exercise supplemental jurisdiction over Plaintiffs’ claims under Texas state law and will

deny as moot Defendants’ motions to dismiss those claims. Federal district courts have the

discretion to decline to exercise supplemental jurisdiction over state-law claims; that

discretion is guided by the statutory factors set forth in 28 U.S.C. § 1367(c) and the

common-law factors of judicial economy, convenience, fairness, and comity. Mendoza v.

Murphy, 532 F.3d 342, 346 (5th Cir. 2008).

          The factors listed in 28 U.S.C. § 1367(c) are:

                 (1) the claim raises a novel or complex issue of State law;

                 (2) the claim substantially predominates over the claim or claims over which
                     the district court has original jurisdiction;

                 (3) the district court has dismissed all claims over which it has original
                     jurisdiction; or

                 (4) in exceptional circumstances, there are other compelling reasons for
                     declining jurisdiction.

          “These interests are to be considered on a case-by-case basis, and no single factor

is dispositive.” Mendoza, 532 F.3d at 346. The general rule is that a court should decline

to exercise jurisdiction over remaining state-law claims when all federal-law claims are

eliminated before trial. Brookshire Bros. Holding, Inc. v. Dayco Products, Inc., 554 F.3d

595, 602 (5th Cir. 2009).




18 / 19
  Case 4:23-cv-01699         Document 99     Filed on 09/30/24 in TXSD     Page 19 of 19




          Having considered the statutory and common-law factors, the Court will follow the

general rule, decline to exercise supplemental jurisdiction over Plaintiffs’ claims under

Texas law, and remand those claims to state court.

                                       CONCLUSION

          The defendants’ motions to dismiss (Dkt. 57; Dkt. 87) are GRANTED IN PART

AND DENIED AS MOOT IN PART. All of Plaintiffs’ claims under federal law (Counts

I–IV and Count VIII of their live complaint) are DISMISSED WITH PREJUDICE under

Federal Rule of Civil Procedure 12(b)(6). The Court declines to exercise supplemental

jurisdiction over Plaintiffs’ claims under Texas state law (Counts V–VII of their live

complaint), and those claims are REMANDED to the 284th Judicial District Court of

Montgomery County, Texas, where this case was originally filed and assigned case number

23-04-05209.

          The Clerk is directed to provide a copy of this order to the parties. The Clerk is

further directed to send a certified copy of this order via certified mail, return receipt

requested, to the District Clerk of Montgomery County, Texas and the Clerk of the 284th

Judicial District Court of Montgomery County, Texas.

           SIGNED at Houston, Texas on September 30, 2024.


                                                   _______________________________
                                                       GEORGE C. HANKS, JR.
                                                   UNITED STATES DISTRICT JUDGE




19 / 19
